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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA

In Re:                                   )    CASE NO. 20-00662-jw
                                         )
Watertech Holdings, LLC,                 )    CHAPTER 11
                                         )
                      Debtor.            )
                                         )

   LIMITED OBJECTION OF COLETTE WINTERS TO DEBTOR’S MOTION FOR
 ORDER ESTABLISHING BIDDING AND OTHER PROCEDURES IN CONNECTION
 WITH THE SALE OF ASSETS OF THE DEBTOR AND GRANTING PROTECTIONS
     TO THE PROPOSED PURCHASER AND MEMORANDUM IN SUPPORT

         COMES NOW Colette Winters, in her individual capacity and as guardian for her

children (“Winters”), by and through her undersigned counsel, and files this limited

objection (the “Limited Objection”) to Watertech Holdings, LLC’s (“Debtor”) Motion for

Order Establishing Bidding and Other Procedures in Connection With the Sale of Assets of

the Debtor and Granting Protections to the Proposed Purchaser and Memorandum in

Support (the “Bid Procedures Motion”) (Doc. 7). The hearing on the Bid Procedures

Motion is currently scheduled for April 1, 2020, with responses due March 23, 2020. On

March 23, 2020, the Debtor filed a motion (Doc. 37) to continue the hearing on the Bid

Procedures Motion to April 15, 2020 and to extend the response deadline to April 6, 2020,

to which Winters has consented.

         Winters hereby files this Limited Objection in an abundance of caution and as a

prophylactic measure to preserve her concerns regarding the proposed bid procedures

and sale terms. Winters reserves her right to file a further or supplemental objection upon

review of the proposed bid procedures and sale terms.
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                             NELSON MULLINS RILEY & SCARBOROUGH L.L.P.

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                             Attorneys for Collette Winters
Columbia, South Carolina
      23
March ______, 2020




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                               CERTIFICATE OF SERVICE

       I the undersigned administrative assistant with the law offices of Nelson Mullins

Riley & Scarborough LLP, attorneys for Collette Winters, do hereby certify that I have

served all parties in this action with a copy of the pleading(s) hereinbelow specified by

either mailing a copy of the same by United States Mail, postage prepaid, or electronic

service through the court's CM/ECF case filing system to the following:

Pleadings:                  Limited Objection of Colette Winters to Debtor’s Motion for
                            Order Establishing Bidding and Other Procedures in
                            Connection With the Sale of Assets of the Debtor and
                            Granting Protections to the Proposed Purchaser and
                            Memorandum in Support

Parties Served:             Watertech Holdings, LLC
                            Attn: Bob Fei
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                            North Charleston, SC 29405

                            G. William McCarthy, Jr.
                            William Harrison Penn
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                            U.S. Trustee’s Office
                            1835 Assembly St., Suite 953
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                                                 /s/Joan A. Kishline
                                                 Joan A. Kishline
Columbia, South Carolina



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      _____, 2020




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